Case 1:17-bk-12408-MB   Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38   Desc
                         Main Document    Page 1 of 19
            Case 1:17-bk-12408-MB                            Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                              Desc
                                                              Main Document    Page 2 of 19
 Fill in this information to identify the case:

 Debtor name         ICPW Liquidation Corporation, a California corporation

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO

 Case number (if known)          1:17-bk-12408-MB
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $891.40        $600.00
           California Board of Equalization                          Check all that apply.
           Acct. Analysis & Control Sec. MIC                          Contingent
           2                                                          Unliquidated
           PO Box 942879                                              Disputed
           Sacramento, CA 94279-0029
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $2,294.00         $2,294.00
           Comptroller of Public Accounts                            Check all that apply.
           P O Box 149348                                             Contingent
           Austin, TX 78714                                           Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number C001                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                   26717                                 Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                         Desc
                                                              Main Document    Page 3 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,662.28
          Account Temps                                                       Contingent
          P.O. BOX 743295                                                     Unliquidated
          Los Angeles, CA 90074-3295                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Temporary Employee Services
          Last 4 digits of account number       N001
                                                                             Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $178,522.75
          Advantage Media Services, Inc.                                      Contingent
          29010 Commerce Center Drive                                         Unliquidated
          Valencia, CA 91355                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Logistics and Warehousing Services
          Last 4 digits of account number       0001
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,330.56
          AML United Limited                                                  Contingent
          29th floor, Nanyang Plaza                                           Unliquidated
          57 Hung To Road, Kwun Tong                                          Disputed
          Kowloon, Hong Kong, China
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       I001                         Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,395.96
          Amster, Rothstein & Ebenstein, LLP                                  Contingent
          90 Park Avenue                                                      Unliquidated
          New York, NY 10016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Services
          Last 4 digits of account number       R001
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $51.98
          Atmos Energy                                                        Contingent
          Three Lincoln Centre, Suite 1800                                    Unliquidated
          5430 LBJ Freeway                                                    Disputed
          Dallas, TX 75240
                                                                             Basis for the claim:    Utilities
          Date(s) debt was incurred
          Last 4 digits of account number       EE00                         Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          BDO USA, LLP                                                        Contingent
          P. O. BOX 677973                                                    Unliquidated
          Dallas, TX 75267-7973                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Services
          Last 4 digits of account number       A001
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,304.35
          Ben Padnos                                                          Contingent
          PO Box 1993                                                         Unliquidated
          Manhattan Beach, CA 90267                                           Disputed
          Date(s) debt was incurred 3rd Quarter 2017
                                                                             Basis for the claim:    Directors' fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                         Desc
                                                              Main Document    Page 4 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,800.00
          BIC ALLIANCE                                                        Contingent
          P O Box 40166                                                       Unliquidated
          Baton Rouge, LA 70835                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Industry Publication
          Last 4 digits of account number       L001
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,788.95
          BNSF                                                                Contingent
          75 Remittance Dr. Ste. 1748                                         Unliquidated
          Chicago, IL 60675-1748                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       O001
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,110.51
          Broadridge                                                          Contingent
          P.O. Box 416423                                                     Unliquidated
          Boston, MA 02241-6423                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       R001
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $40,000.00
          Broussard,Ronald Roy                                                Contingent
          3001 Oak Meadow Drive                                               Unliquidated
          Flower Mound, TX 75028                                              Disputed
          Date(s) debt was incurred September 2017
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,500.00
          Burkhard,Kerri                                                      Contingent
          4405 Glenbrook Court                                                Unliquidated
          Mansfield, TX 76063                                                 Disputed
          Date(s) debt was incurred September 2017
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $695.00
          Business Systems Integrators, LLC                                   Contingent
          P O Box 495                                                         Unliquidated
          Lawson, MO 64062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       O001
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,471.81
          Capital One Bank                                                    Contingent
          P. O. BOX 1917                                                      Unliquidated
          Merrifield, VA 22116-1917                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit
          Last 4 digits of account number       A002
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                         Desc
                                                              Main Document    Page 5 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,402.17
          Charles Giffen                                                      Contingent
          6000 Elba Place                                                     Unliquidated
          Woodland Hills, CA 91367                                            Disputed
          Date(s) debt was incurred 3rd Quarter 2017
                                                                             Basis for the claim:    Directors' fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,546.45
          CIS Custom Information Services                                     Contingent
          1201 N. Watson Rd., Ste. 110                                        Unliquidated
          Arlington, TX 76006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       S001
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $288.10
          Commerce Technologies, Inc.                                         Contingent
          25736 Network Place                                                 Unliquidated
          Chicago, IL 60673-1257                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       R001
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,706.52
          David Jacobs                                                        Contingent
          335 Lee Hill Drive                                                  Unliquidated
          Boulder, CO 80302                                                   Disputed
          Date(s) debt was incurred      3rd quarter 2017                    Basis for the claim:    Board of Directors' fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $355.09
          Daylight Transport                                                  Contingent
          P O Box 93155                                                       Unliquidated
          Long Beach, CA 90809                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Transportation
          Last 4 digits of account number       G001
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,801.60
          DESIGN GALLERY (PVT.) LTD.                                          Contingent
          PLOT #322/B, MEDICAL ROAD                                           Unliquidated
          HELAL MARKET, UTTARKHAN                                             Disputed
          DHAKA-1230, Bangladesh
                                                                             Basis for the claim:    Services
          Date(s) debt was incurred
          Last 4 digits of account number       N002                         Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,691.75
          DESUN GARMENTS, LTD.                                                Contingent
          89/1, Birulia Road, Savar, Dhaka                                    Unliquidated
          Dhaka                                                               Disputed
          Savar-1340, Bangladesh
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred
          Last 4 digits of account number       G001                         Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                         Desc
                                                              Main Document    Page 6 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,095.00
          Dival Safety & Supplies                                             Contingent
          1721 Niagra Street                                                  Unliquidated
          Buffalo, NY 14207                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number       S001
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $556.75
          DRG Strategic, LLC - Bob Goldstein                                  Contingent
          P O BOX 191981                                                      Unliquidated
          Dallas, TX 75219                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       R001
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,184.26
          DTM Sales                                                           Contingent
          391 Gingercake Road                                                 Unliquidated
          Fayetteville, GA 30214                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,304.35
          Emmett Murphy                                                       Contingent
          3901 Turtle Creek Blvd.                                             Unliquidated
          Dallas, TX 75219                                                    Disputed
          Date(s) debt was incurred 3rd Quarter 2017
                                                                             Basis for the claim:    Directors' fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $35,000.00
          Emslie, Mike                                                        Contingent
          20, Charleston Park Cove                                            Unliquidated
          Aberdeen AB12 3TX                                                   Disputed
          Date(s) debt was incurred September 2017
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,000.00
          Eshleman,Derek G                                                    Contingent
          3744 Woodshadow Lane                                                Unliquidated
          Addison, TX 75001                                                   Disputed
          Date(s) debt was incurred September 2017
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,795.67
          FedEx                                                               Contingent
          PO Box 7221                                                         Unliquidated
          Pasadena, CA 91109-7321                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Shipping Services
          Last 4 digits of account number       0001
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                         Desc
                                                              Main Document    Page 7 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,000.00
          Feld,Abraham Hagen                                                  Contingent
          14700 Marsh Ln. Apt. #926                                           Unliquidated
          Addison, TX 75001                                                   Disputed
          Date(s) debt was incurred September 2017
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $40,000.00
          Fowler,Michael J                                                    Contingent
          1722 Ashland Ave.                                                   Unliquidated
          Evanston, IL 60201                                                  Disputed
          Date(s) debt was incurred      September 2017                      Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $70,000.00
          Geoff Greulich                                                      Contingent
          3485 Ridgeford Drive                                                Unliquidated
          Westlake Village, CA 91361                                          Disputed
          Date(s) debt was incurred September 2020
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement. In addition to claim amount set forth herein,
                                                                             Mr. Greulich is entitled to receive 3% of all enterprise value/sale price
                                                                             in excess of $22,500,000
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $797.81
          Ginger Collier                                                      Contingent
          6524 Deseo Apt. 358                                                 Unliquidated
          Irving, TX 75039                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       R001
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $759.07
          GT Graphics                                                         Contingent
          826 Michigan Avenue                                                 Unliquidated
          Sheboygan, WI 53081                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       P001
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,000.00
          Guo, Xin                                                            Contingent
          540 Lake Forest Dr.                                                 Unliquidated
          Coppell, TX 75019                                                   Disputed
          Date(s) debt was incurred      September 2017                      Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                         Desc
                                                              Main Document    Page 8 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $364.80
          Hewlett Packard                                                     Contingent
          1501 Page Mill Road                                                 Unliquidated
          Palo Alto, CA 94304                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       T001
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $40,000.00
          Jaeger,Eric                                                         Contingent
          1408 CAMBRIDGE CROSSING                                             Unliquidated
          Southlake, TX 76092                                                 Disputed
          Date(s) debt was incurred September 2017
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $49,957.73
          KA HUNG GLOVE INUSTRIAL CO. LTD.                                    Contingent
          FUJIAN QUANZHOU JIACHENG LEATHER                                    Unliquidated
          CHI FENG ROAD, QUANZHOU CITY                                        Disputed
          FUJIAN, 362000, China
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred
          Last 4 digits of account number       G001                         Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,152.31
          Konica Minolta Business Solutions                                   Contingent
          100 Williams Drive                                                  Unliquidated
          Ramsey, NJ 07446                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Printer Services/Costs
          Last 4 digits of account number       A001
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $54.92
          LAB Sales Agency                                                    Contingent
          58 Regis Drive                                                      Unliquidated
          Winnipeg, MB 1K3 Canada                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $10,000.00
          Laubert,Matthew Palmer                                              Contingent
          3201 Pecan Meadow Drive                                             Unliquidated
          Garland, TX 75040                                                   Disputed
          Date(s) debt was incurred September 2017
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $69.10
          LF Logistics                                                        Contingent
          230-19 International Airport Ct., S                                 Unliquidated
          Springfield Gardens, NY 11413                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       I001
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                         Desc
                                                              Main Document    Page 9 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $945.00
          Liaison Technologies, Inc.                                          Contingent
          3157 Royal Drive, Suite 200                                         Unliquidated
          Alpharetta, GA 30022                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       N001
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $34.59
          Lien Shun Yang Leather Co., Ltd.                                    Contingent
          No.48, Mincheng Street, Daliao Dist                                 Unliquidated
          Kaosiung City 831, Taiwan (R.O.C.)                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Product
          Last 4 digits of account number       U001
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,000.00
          Marshall, Russell                                                   Contingent
          23B Thomson Terrace                                                 Unliquidated
          Stonehaven, Aberdeenshire, AB392LX                                  Disputed
          Date(s) debt was incurred September 2017
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $382,811.28
          MARUSAN - MIMASU TSHUSHO CO. LTD.                                   Contingent
          NO 1 QUEEN' ROAD CENTRAL                                            Unliquidated
          HONG KONG                                                           Disputed
          CHINA
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred
          Last 4 digits of account number       A001                         Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,000.00
          Matt Pliskin                                                        Contingent
          2718 W Terrace Drive                                                Unliquidated
          Tampa, FL 33609                                                     Disputed
          Date(s) debt was incurred September 2019
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $253.09
          Mediant                                                             Contingent
          P.O. Box 29976                                                      Unliquidated
          New York, NY 10087                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       N001
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $453,831.81
          MERCINDO GLOBAL MANUFAKTUR                                          Contingent
          JL. RAYA SEMARANG-BAWEN KM.29                                       Unliquidated
          SEemerang, Central Java                                             Disputed
          50661, Indonesia
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred
          Last 4 digits of account number       N001                         Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 8 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                         Desc
                                                              Main Document    Page 10 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,500.00
          Metzler,Stacy Marie                                                 Contingent
          411 Donnell Drive #A                                                Unliquidated
          Arlington, TX 76012                                                 Disputed
          Date(s) debt was incurred      September 2017                      Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,847.83
          Michael DiGregorio                                                  Contingent
          1420 Kingsboro Court                                                Unliquidated
          Thousand Oaks, CA 91362                                             Disputed
          Date(s) debt was incurred 3rd Quarter 2017
                                                                             Basis for the claim:    Directors' fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,500.00
          Morris,Chartrice Holt                                               Contingent
          7313 Tall Road                                                      Unliquidated
          Alvarado, TX 76009                                                  Disputed
          Date(s) debt was incurred      September 2017                      Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,000.00
          Nacion,Markham                                                      Contingent
          503 Hemphill Drive                                                  Unliquidated
          San Marcos, CA 92069                                                Disputed
          Date(s) debt was incurred September 2017
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $1,228,307.56
          NANTONG CHANGBANG GLOVES CO.                                        Contingent
          Flat/RM 1602 Chit Lee Comm                                          Unliquidated
          Bldg 30-36, Shau Kei Wan Road                                       Disputed
          Hong Kong, China
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred
          Last 4 digits of account number       N001                         Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $395.00
          National Safety Council                                             Contingent
          P.O. Box 558                                                        Unliquidated
          Itasca, IL 60143                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Fees
          Last 4 digits of account number       N004
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          nChannel, Inc.                                                      Contingent
          8760 Orion Place, Ste 210                                           Unliquidated
          Columbus, OH 43240                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    For Noticing Purposes Only
          Last 4 digits of account number       N001
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 9 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                         Desc
                                                              Main Document    Page 11 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,554.60
          Net Pack                                                            Contingent
          9629 El Poche St.                                                   Unliquidated
          South El Monte, CA 91733                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       H001
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $317.44
          Office Depot Acct 31A                                               Contingent
          P.O. Box 88040                                                      Unliquidated
          Chicago, IL 60680-1040                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number       E004
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $958.00
          Pacific Stock Transfer Company                                      Contingent
          6725 Via Austi Pkwy                                                 Unliquidated
          Suite 300                                                           Disputed
          Las Vegas, NV 89119
                                                                             Basis for the claim:    Services
          Date(s) debt was incurred
          Last 4 digits of account number       I002                         Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,264.09
          Perry HVAC                                                          Contingent
          10000 North Central Expressway                                      Unliquidated
          Suite 400                                                           Disputed
          Dallas, TX 75231
                                                                             Basis for the claim:    Services
          Date(s) debt was incurred
          Last 4 digits of account number       H001                         Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $157.46
          Pestilli & Associates                                               Contingent
          193 Sam Brown Hill Road                                             Unliquidated
          Brownfield, ME                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $452.99
          Pitney Bowes Credit Corp.                                           Contingent
          P.O.Box 371887                                                      Unliquidated
          Pittsburg, PA 15250-7887                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Postage meter costs
          Last 4 digits of account number       Y002
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Precision Testing Laboratories                                      Contingent
          POB 100268                                                          Unliquidated
          Nashville, TN 37224                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       S001
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 10 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                         Desc
                                                              Main Document    Page 12 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $500.00
          Progroup Incorporated                                               Contingent
          P.O. Box 6585                                                       Unliquidated
          Englewood, CO 80155                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       R001
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $162,917.76
          PT JJ GLOVES INDO                                                   Contingent
          JL Ronggowarsito, Mlese, Ceper                                      Unliquidated
          Bonded Zone, Klaten                                                 Disputed
          Central Java, Indonesia 57463
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred
          Last 4 digits of account number       V001                         Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,174.86
          PT SEOK HWA INDONESIA                                               Contingent
          Room 1218, Krantz Techno Bldg.                                      Unliquidated
          5442-1 Sang Dae Won-Dong, Sung Nam                                  Disputed
          Kyung Gi-Do, Indonesia 00046-2819
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred
          Last 4 digits of account number       W001                         Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $144,238.66
          PT SPORT GLOVE INDONESIA                                            Contingent
          Krandon Desa Pandowoharjo                                           Unliquidated
          Sleman                                                              Disputed
          Yogyakarta, Indonesia 55512
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred
          Last 4 digits of account number       G001                         Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $67.46
          Quill Corporation                                                   Contingent
          P.O. Box 37600                                                      Unliquidated
          Philadelphia, PA 19101                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplies
          Last 4 digits of account number       O001
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,350.00
          R D Pete Bloomer                                                    Contingent
          7542 Crestview Drive                                                Unliquidated
          Longmont, CO 80504                                                  Disputed
          Date(s) debt was incurred      August 2017                         Basis for the claim:    Consulting Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $341.10
          Republic Services                                                   Contingent
          4200 East 14th Street                                               Unliquidated
          Plano, TX 75074                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       L001
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 11 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                         Desc
                                                              Main Document    Page 13 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80,727.00
          Resources Global Professionals                                      Contingent
          17101 Armstrong Ave                                                 Unliquidated
          Irvine, CA 92614                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       R001
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Risk Consulting Partners                                            Contingent
          24722 Network Place                                                 Unliquidated
          Chicago, IL 60673-1247                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    For Noticing Purposes Only
          Last 4 digits of account number       O001
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,304.35
          Robert Steckler                                                     Contingent
          3000 Tradewind Drive                                                Unliquidated
          Spicewood, TX 78669                                                 Disputed
          Date(s) debt was incurred 3rd Quarter 2017
                                                                             Basis for the claim:    Directors' fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $98.65
          Russ McDonald                                                       Contingent
          23785 - 110B Avenue                                                 Unliquidated
          Maple Ridge, B.C. V2W1 E6, Canada                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       C001
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $646.35
          Safeco Building Maintenance                                         Contingent
          5013 Brandenburg Lane                                               Unliquidated
          The Colony, TX 75056                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       O001
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,125.00
          Shur-Sales & Marketing, Inc.                                        Contingent
          3830 S Windermere St.                                               Unliquidated
          Englewood, CO 80110                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       A001
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $231,848.92
          Skadden Arps Slate Meagher & Flom LLP                               Contingent
          P O Box 1764                                                        Unliquidated
          White Plains, NY 10602                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Services
          Last 4 digits of account number       E001
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 12 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                         Desc
                                                              Main Document    Page 14 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,022.55
          SPS Commerce                                                        Contingent
          333 South Seventh St. Ste. 1000                                     Unliquidated
          Minneapolis, MN 55402                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       M001
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $331,893.44
          Stubbs, Alderton & Markiles, LLP
          15260 Ventura Blvd                                                  Contingent
          20th Floor                                                          Unliquidated
          Sherman Oaks, CA 91403                                              Disputed
          Date(s) debt was incurred August 1, 2017 -
                                                                             Basis for the claim:    Professional Services
          September 7, 2017
          Last 4 digits of account number S001                               Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $162.23
          Superior Printing, Inc.                                             Contingent
          P O Box 844550                                                      Unliquidated
          Los Angeles, CA 90084-4550                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       I001
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,972.33
          Synetra                                                             Contingent
          1110 E. State Highway 114                                           Unliquidated
          Suite 200                                                           Disputed
          Southlake, TX 76092
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number       R001                         Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $430.52
          TAB Sales Solutions                                                 Contingent
          12109-94A Street                                                    Unliquidated
          Grand Prairie, AB T8V 5C2 Canada                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,500.00
          Tamer Shiha                                                         Contingent
          P.O.Box 117893                                                      Unliquidated
          300                                                                 Disputed
          Carrollton, TX 75010
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Date(s) debt was incurred      September 2018                      employment agreement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,900.00
          Three Part Advisors, LLC                                            Contingent
          P O Box 92698                                                       Unliquidated
          Southlake, TX 76092                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       P001
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 13 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                         Desc
                                                              Main Document    Page 15 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $350.00
          TRI/AUSTIN, INC                                                     Contingent
          P O BOX 207097                                                      Unliquidated
          DALLAS, TX 75063                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number       S001
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,430.11
          TXU Energy                                                          Contingent
          P.O. Box 650638                                                     Unliquidated
          Dallas, TX 75265                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utilities
          Last 4 digits of account number       E001
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $279.06
          Tyco Integrated Security, LLC                                       Contingent
          P.O. Box 371967                                                     Unliquidated
          Pittsburgh, PA 15250-7967                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       N001
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $710.49
          Uline                                                               Contingent
          2950 E. Jurupa Street                                               Unliquidated
          Ontario, CA 91761                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       I001
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $33,333.00
          University of Milwaukee                                             Contingent
          P O Box 500                                                         Unliquidated
          University of Wisconsin - Milwaukee                                 Disputed
          Milwaukee, WI 53201
                                                                             Basis for the claim:    Services
          Date(s) debt was incurred
          Last 4 digits of account number       R003                         Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $504.55
          UPS Freight                                                         Contingent
          7754 Paramount Blvd.                                                Unliquidated
          Pico Rivera, CA 90660                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       O002
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,500.00
          Urena,Daniel                                                        Contingent
          13670 Janwood Lane                                                  Unliquidated
          Farmers Branch, TX 75234                                            Disputed
          Date(s) debt was incurred September 2017
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 14 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                         Desc
                                                              Main Document    Page 16 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,630.43
          Vane Clayton                                                        Contingent
          1364 Northpark Drive                                                Unliquidated
          Lafayette, CO 80026                                                 Disputed
          Date(s) debt was incurred 3rd Quarter 2017
                                                                             Basis for the claim:    Directors' fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Vonalman,Turner J                                                   Contingent
          5225 Las Colinas Blvd                                               Unliquidated
          Apt 2301                                                            Disputed
          Irving, TX 75039
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Date(s) debt was incurred September 2017
                                                                             employment agreement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Washington,Cheryl                                                   Contingent
          3577 N. Beltline Rd.                                                Unliquidated
          #215                                                                Disputed
          Irving, TX 75062
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Date(s) debt was incurred      September 2017                      employment agreement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,500.00
          Weispfenning,Daniel Walton                                          Contingent
          3333 Harry Hines Blvd., Apt. 9152                                   Unliquidated
          Dallas, TX 75201                                                    Disputed
          Date(s) debt was incurred September 2017
                                                                             Basis for the claim: Payment subject to terms of, and pursuant to,
          Last 4 digits of account number                                    employment agreement
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,375.00
          Werner Logistics                                                    Contingent
          10251 Calabash Avenue                                               Unliquidated
          Fontana, CA 92335                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       R001
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,739.59
          Windstream                                                          Contingent
          PAETEC                                                              Unliquidated
          P O Box 9001013                                                     Disputed
          Louisville, KY 40290-1013
                                                                             Basis for the claim:    Services
          Date(s) debt was incurred
          Last 4 digits of account number       T001                         Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $144,198.43
          WINSPEED SPORTS SHANGHAI CO., LTD.                                  Contingent
          858 MINGZHU ROAD                                                    Unliquidated
          SHANGHAI                                                            Disputed
          China 00020-1702
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred
          Last 4 digits of account number       E001                         Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 15 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 1:17-bk-12408-MB                             Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                               Desc
                                                              Main Document    Page 17 of 19
              ICPW Liquidation Corporation, a California
 Debtor       corporation                                                                             Case number (if known)            1:17-bk-12408-MB
              Name

 3.98      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $785,358.50
           WONEEL MIDAS LEATHERS                                              Contingent
           JL GEMBOR RAYA DESA PASIRJAYA                                      Unliquidated
           TANGERANG                                                          Disputed
           BANTEN, INDONESIA 15135
                                                                             Basis for the claim:    Product
           Date(s) debt was incurred
           Last 4 digits of account number      L001                         Is the claim subject to offset?    No  Yes
 3.99      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $12,391.41
           Yellow and Roadway                                                 Contingent
           P. O. Box 100129                                                   Unliquidated
           Pasadena, CA 91355                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number      O001
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        3,185.40
 5b. Total claims from Part 2                                                                            5b.    +   $                    4,875,670.09

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        4,878,855.49




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 16 of 16
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
Case 1:17-bk-12408-MB                Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38                                       Desc
                                      Main Document    Page 18 of 19
                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067
  2
      A true and correct copy of the foregoing document entitled SUMMARY OF AMENDED SCHEDULES,
  3   MASTER MAILING LIST, AND/OR STATEMENTS [LBR 1007-1(c)] will be served or was served (a) on
      the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
  4   below:
  5   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  6   hyperlink to the document. On December 8, 2017, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail
  7   Notice List to receive NEF transmission at the email addresses stated below:

  8            Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
               Ron Bender rb@lnbyb.com
  9            Cathrine M Castaldi ccastaldi@brownrudnick.com
               Russell Clementson russell.clementson@usdoj.gov
 10            Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
               Matthew A Gold courts@argopartners.net
 11            Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
               Jeffrey A Krieger jkrieger@ggfirm.com,
 12             kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
                usker.com
 13            Samuel R Maizel samuel.maizel@dentons.com,
                alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
 14             .com;kathryn.howard@dentons.com
               Krikor J Meshefejian kjm@lnbrb.com
 15            Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
               S Margaux Ross margaux.ross@usdoj.gov
 16            United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
               Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com
 17
 18   2. SERVED BY UNITED STATES MAIL: On December 8, 2017, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 19   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 20   completed no later than 24 hours after the document is filed.

 21                                                                           Service information continued on attached page

 22   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
 23   on December 8, 2017, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
 24   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
 25   N/A
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
 26   true and correct.
 27    December 8, 2017                   Lourdes Cruz                                   /s/ Lourdes Cruz
       Date                               Type Name                                      Signature
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
         Case 1:17-bk-12408-MB     Doc 305 Filed 12/08/17 Entered 12/08/17 11:43:38    Desc
                                    Main Document    Page 19 of 19




Stubbs, Alderton & Markiles, LLP     BDO USA, LLP                    KA HUNG GLOVE INUSTRIAL CO. LTD.
15260 Ventura Blvd                   P. O. BOX 677973                FUJIAN QUANZHOU JIACHENG
20th Floor                           Dallas TX 75267‐7973            LEATHER
Sherman Oaks CA 91403‐0000                                           CHI FENG ROAD, QUANZHOU CITY
                                                                     FUJIAN, 362000, China
MERCINDO GLOBAL MANUFAKTUR           R D Pete Bloomer
JL. RAYA SEMARANG‐BAWEN KM.29        7542 Crestview Drive
SEemerang, Central Java              Longmont CO 80504‐0000
50661, Indonesia
